      Case 1:07-cr-00142-RJA          Document 119        Filed 09/14/09      Page 1 of 11




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,




                                                                Hon. Hugh B. Scott

                      v.
                                                                     07CR142A

                                                                     Report
                                                                       &
 ROBERTO E. NAVARRO,                                             Recommendation
 EDWIN VELEZ,
 MILDRED RIVERA,
 ZELMALY TORRES,
                                Defendants.


       This matter is referred to the undersigned to hear and determine pretrial matters pursuant

to 28 U.S.C. § 636 (b)(1)(A) and, pursuant to 28 U.S.C. § 636(b)(1)(B), to submit proposed

findings of fact and recommendations for the disposition of any motion excepted by 28 U.S.C.

§ 636(b)(1)(A) (Docket No. 19).

       The instant matter before the Court is defendant Edwin Velez’ omnibus motion (Docket

No. 771); pertinent to this Report & Recommendation, defendant Velez seeks suppression of

statements when he was not advised of his Miranda rights and suppression of Rule 404(b)

evidence at trial (see id. Def. Atty. Affirm. ¶¶ 10-12). He sought a suppression hearing (id. ¶ 11)


       1
        In support of this motion is defense counsel’s supporting affirmation, Docket No. 77,
new defense counsel’s memorandum, Docket No. 99, his subsequent memorandum (with
attached memorandum, repeating the earlier filed memorandum, Docket No. 99), Docket
No. 106, and his third memorandum (with exhibits), Docket No. 114.
       In opposition, the Government filed a separate initial response, Docket No. 78, and its
post-hearing response, Docket No. 113.
      Case 1:07-cr-00142-RJA          Document 119        Filed 09/14/09      Page 2 of 11




and the Government conceded that a hearing may be necessary as to defendant’s statements

(Docket No. 78, Gov’t Response at 15). Following that hearing, defendant also moved to

suppress drugs seized from Velez’ alleged safe as a poisoned fruit of the custodial interrogation

(see Docket No. 99, Def. Memo.). Separately, this Court will consider the other relief sought in

this motion (namely, discovery, submission of a bill of particulars, severance, and disclosure for

Federal Rule of Evidence 404(b), 608, and 609 evidence) (Docket No. 77).

       Suppression hearing was begun on June 1, 2009 (Docket No. 98), and continued to

June 22, 2009 (see Docket No. 100), where the Government orally and initially conceded that

Velez was not advised of his Miranda warnings prior to making his statement (id.). The parties

were given until July 7, 2009, in order to file post-hearing submissions (id.). A formal

stipulation regarding whether these warnings were given or not was not reached (see Docket No.

106, Def. Memo. ¶ 4). A status conference was held on August 5, 2009, since neither party

submitted post-hearing materials (Docket No. 104), and the parties later were given until

August 14, 2009, to make these submissions (Docket No. 108). Velez (Docket Nos. 106, 114)

and the Government (Docket No. 113) each submitted their post-hearing materials and the

motion was deemed submitted as of August 14, 2009.

                                        BACKGROUND

       Velez was charged with three other defendants in a five-count Second Superseding

Indictment with conspiracy to distribute controlled substances (cocaine) on or about January 16,

2007, in violation of 21 U.S.C. § 841; use of the U.S. mail to commit felonies, also on or about

January 16, 2007, in violation of 21 U.S.C. §§ 841, 846, 2; and knowingly possessing cocaine

with the intent to distribute (with defendant Mildred Rivera), on or about February 6, 2008, in


                                                 2
      Case 1:07-cr-00142-RJA          Document 119        Filed 09/14/09     Page 3 of 11




violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2 (Docket No. 61, 2d Superseding Indictment,

Counts 1, 2, 52).

       This case initially arose from the United States Drug Enforcement Administration

(“DEA”) and postal inspectors conducting a controlled delivery of an Express Mail package

addressed to a “Y. Prado” at 66 Kenefick Avenue, apartment 2, Buffalo, New York (Docket

Nos. 40, 43, Gov’t Responses at 1). Details of this part of the investigation were recounted in an

earlier Report & Recommendation regarding defendants Rosa and Torres’ motions to suppress

(Docket No. 48, Report & Rec. at 2-4) and will not be repeated here.

       Relevant to Velez’ present motion is a subsequent search conducted on February 6, 2008.

Velez’ Motion to Suppress

       Velez seeks to suppress statements he made and physical evidence seized on February 6,

2008, during the search of his home at 116 Crowley Street, Buffalo, New York. Special Agent

Joseph Bongiovanni of the DEA testified that Velez was arrested on February 6 near his Crowley

Street house as Velez exited his vehicle. Bongiovanni handcuffed Velez and placed him in a

police car. (Docket No. 99, Def. Memo. ¶ 2). Meanwhile other agents searched 116 Crowley,

pursuant to a search warrant (Docket No. 113, Gov’t Response at 2) and found a safe.



       2
         This Second Superseding Indictment also charged defendant Roberto Navarro with
unlawful possession of 500 grams or more of cocaine on January 11, 2007, Docket No. 61, 2d
Superseding Indict., Count 3, while charging Velez and Zelmaly Torres with possession of a
similar amount of cocaine on January 16, 2007, id. Count 4.
         Navarro pleaded guilty, see Docket No. 85, and awaiting sentencing, see Docket No. 103
(sentencing scheduled for November 6, 2009). Torres also pleaded guilty, Docket No. 112, and
is awaiting sentencing, see Docket No. 115. A fifth defendant, Betzaida Rosa, was charged in an
earlier superseding Indictment, see Docket No. 27, and separately pled guilty, text minute entry
June 11, 2008, and is awaiting sentencing, see Docket No. 117 (to be sentenced December 8,
2009).

                                                3
      Case 1:07-cr-00142-RJA          Document 119         Filed 09/14/09      Page 4 of 11




Bongiovanni called another DEA agent, Brian Conneely, who held Velez in custody and

Bongiovanni told Conneely that they found a safe inside defendant’s house. Conneely called

Bongiovanni back and told him the combination for the safe and advised Bongiovanni that Velez

had stated that there were drugs in the safe. (Id. at 2-3,) That safe was then brought to the police

car and agents asked Velez how to open it. Ultimately, Velez told the agents the combination

and, as Bongiovanni testified, physically assisted in opening the safe (id. at 3). Velez had not

been advised his Miranda rights prior to being asked how to open his safe. Once opened, heroin

and cocaine were found in the safe. (Docket No. 99, Def. Memo. ¶¶ 2, 3, 4.)

       Velez moves to suppress the drugs found in the safe, arguing that the drugs are fruit of the

poisonous tree, see Wong Sun v. United States, 371 U.S. 471 (1963), since he was not advised of

his Miranda rights when asked how to open the safe (Docket No. 99, Def. Memo. ¶¶ 5, 8-9, 14;

Docket No. 106, Def. Memo. ¶ 3; Docket No. 114, Def. Memo. ¶ 2). He contends that he was in

custody when questioned about opening the safe, hence he was in custodial interrogation

requiring warnings before allowing his statements (or subsequent evidence) to be used against

him (Docket No. 99, Def. Memo. ¶ 6). The Government concedes that Bongiovanni testified that

he had arrested Velez prior to Velez’ statements and that Bongiovanni had not advised Velez of

his rights (see Docket No. 113, Gov’t Response at 2). Velez’ new counsel argues that his motion

to suppress the physical evidence should be allowed to proceed despite not being raised in his

initial moving papers because of the change in counsel (Docket No. 99, Def. Memo. ¶¶ 11-12).

       The Government, in its post-hearing submission, argues that the safe was discovered

before defendant was questioned and made any statements (Docket No. 113, Gov’t Response at

3). The seizure of the safe (and presumably its contents) was permissible under the terms of the


                                                 4
       Case 1:07-cr-00142-RJA           Document 119         Filed 09/14/09      Page 5 of 11




search warrant (id. at 4, 5) since the search of fixed premises extends to containers found therein

(id. at 5, quoting United States v. Ross, 456 U.S. 798, 821 (1982)).

        Defendant replies that the search warrant listed the schedule of items subject to search

and seizure and it did not list a safe, thus seizure of the safe cannot be justified under that warrant

(Docket No. 114, Def. Memo. ¶¶ 8-10, Ex. 2). The schedule of items to be seized under that

warrant lists cocaine, heroin, other controlled substances, books, records, valuables, and

instrumentalities used in drug transactions (cf. id., Ex. 23) but does not list safes or similar

containers. “The bottom line,” as Velez puts it, is that the agents obtained defendant’s statement

as to how to open the safe without advising him of his rights and, once opening the safe, obtained

incriminating evidence (id. ¶ 7).

                                            DISCUSSION

I.      Waiver

        An initial issue is whether defendant waived his motion to suppress the physical evidence

when he failed to raise it with his motion to suppress his statement. During the hearing, the

Government argued that Velez waived suppression of the drugs because they were not asserted in

his motion (which sought only to suppress his statements) (cf. Docket No. 99, Def. Memo. ¶ 10).

Defendant argues that he was in custody when his statements were made without being advised

of his rights, in particular disclosing the combination of the safe, and the statements should be

suppressed as well any subsequently seized evidence is the fruit of the poisoned tree (id. ¶ 5), see

Wong Sun, supra, 371 U.S. at 488; Nardone v. United States, 308 U.S. 338, 341 (1939). Velez’

counsel also notes that he is the second attorney to represent him, that, while adopting prior


       3
           Attached to this Report is a copy of the Schedule of Items to be Seized.

                                                   5
         Case 1:07-cr-00142-RJA        Document 119        Filed 09/14/09      Page 6 of 11




counsel’s motions, new facts arose in the evidentiary hearing that warrant a further motion (id.

¶ 11).

         The statements defendant moved to suppress go to the same issue in this present motion

to suppress the physical evidence; defendant’s admission about the contents of the safe and the

combination and means for opening the safe. Thus, the Court will consider defendant’s

motion to suppress the physical evidence as well as his motion to suppress his statements.

II.      Defendant’s Motions to Suppress

         Two sets of constitutional rights are implicated in defendant’s motions to suppress. First,

he is invoking (among other rights within the Miranda warnings) his Fifth Amendment rights

under Miranda against self-incrimination (applicable for his statements and, under the fruit of the

poisonous tree doctrine, subsequently obtained physical evidence) and, second, he is invoking his

rights against unreasonable search and seizure under the Fourth Amendment.

         A.     Miranda Standard

         Miranda v. Arizona, 384 U.S. 436, 467 (1966), holds that in custody interrogation was

inherently coercive and, as a prophylactic measure, the Supreme Court formulated “the ‘now-

familiar procedural safeguards,’” Acosta v. Artuz, No.05-4196-pr, 2009 U.S. App. LEXIS 17229,

at *29 (2d Cir. Aug. 4, 2009) (quoting Colorado v. Spring, 479 U.S. 564, 572 (1987)), of

warnings advising the suspect of his rights to secure his privilege against self-incrimination,

Acosta, supra, 2009 U.S. App. LEXIS 17229, at *29; Spring, supra, 479 U.S. at 572.

         Here, the Government does not contest that Velez was not advised of his Miranda

warnings prior to his statements about the contents of the safe and the means of opening it or that




                                                  6
      Case 1:07-cr-00142-RJA          Document 119         Filed 09/14/09      Page 7 of 11




Velez was under arrest when he made these statements. Thus, these statements should be

suppressed.

       The next issue involves the purported fruit of those statements, the seized drugs. The

Government argues that defendant wrongly believes that his statements led to the safe (and in

turn to its contents) (Docket No. 113, Gov’t Response at 6). Defendant’s statement merely

allowed the Government easier access into the safe that was detected by the drug canine alerting

in the closet where the safe was found for the residue of narcotics. Thus, on this basis, the seized

physical evidence from this safe should not be considered fruit of the poisoned tree and

defendant’s motion to suppress this evidence should be denied on this basis.

       B.      Fourth Amendment

       Velez argues that the search warrant was not particularized sufficiently to include

searching and seizing the safe, relying upon the sealed container in a warrantless automobile

search case, Robbins v. California, 453 U.S. 420 (1981) (see Docket No. 114, Def. Memo. ¶¶ 4-

6). The Government contends that the safe could be searched and seized since the warrant called

for searching for contraband and instrumentalities of drug distribution (Docket No. 113, Gov’t

Response at 5-6, citing California v. Acevedo, 500 U.S. 565, 580 (1991) (container search

allowed in warrantless automobile search); see also United States v. Kyles, 40 F.3d 519, 523-24

(2d Cir. 1994) (search of individual rooms in premises identified in warrant)). Robbins involved

the exception to a warrantless search when the target is an automobile but recognized that sealed

containers within automobiles deserve constitutional protection, 453 U.S. at 423-25. This case,

however, involves the search of a house and the containers therein, so Robbins and like cases are

distinguishable. Ross, the case cited by the Government (see Docket No. 115, Gov’t Response at


                                                 7
      Case 1:07-cr-00142-RJA           Document 119         Filed 09/14/09      Page 8 of 11




5) was also an automobile warrantless search case, but it discussed the nature of searches of

containers in fixed premises like a home and the extension of a search warrant of a home to the

containers therein, 456 U.S. at 821 (see id.). But the key here for a search of fixed premises is

that it is authorized by a warrant that identifies where to search and what can be seized.

       The requirement under the Fourth Amendment for particularity in the items to be seized

under a search warrant, that is “no warrants shall issue, but upon probable cause, supported by

Oath or affirmation, and particularly describing the place to be searched, and the persons or

things to be seized,” U.S. Const. Amend. IV (emphasis added), is to “protect against all general

searches,” those “deemed obnoxious to fundamental principles of liberty” from before the

creation of this government, and to prevent “the issuance of warrants on loose, vague or doubtful

bases of fact,” Go-Bart Importing Co. v. United States, 282 U.S. 344, 357 (1931).

       The Government argues that the warrant permitted the agents to search for (among other

items) “the fruits and instrumentalities of drug distribution” (Docket No. 113, Gov’t Response at

5). Here, the search warrant’s schedule of items to be seized do not mention a safe as an item to

be seized or refer generally to storage containers for controlled substances. This schedule does

list (among other items, see attachment, Docket No. 114, Ex. A) “cocaine, heroin, other

controlled substances,” “books, records, receipts, notes, ledgers . . . and other papers relating to

the transportation, ordering, sale and distribution of controlled substances,” “keys to safe deposit

boxes,” and “paraphernalia for the packaging, diluting, cutting, weighing, processing and

distributing of controlled substances, including scales, plastic bags, cutting agents and utensils”

(attachment, Docket No. 114, Ex. A). Unlike the warrant upheld in People v. Fletcher,

260 Mich. App. 531, 545-51, 679 N.W.2d 127, 137-40 (2004), this schedule does not include a


                                                  8
      Case 1:07-cr-00142-RJA           Document 119        Filed 09/14/09      Page 9 of 11




broader reference to seizing items of evidence of possession of contraband; in Fletcher, a search

for evidence of a fatal shooting authorized the seizure of letters from a brown expandable

envelope that showed defendant’s affair as evidence of motive, see also United States v.

Edwards, No. 09-10845, 2009 U.S. App. LEXIS 19332 at *4 (11th Cir. Aug. 29, 2009) (warrant

expressly authorized seizure of safes and strong boxes in drug investigation); United States v.

Washington, 852 F.2d 803, 805 (4th Cir.) (warrant authorizing seizure of drugs and any other

items of evidence adequately specified items to be seized), cert. denied, 488 U.S. 974 (1988).

       The Eighth Circuit, in United States v. Martin, 866 F.2d 972, 979 (8th Cir. 1989), upheld

the seizure of defendant’s police scanner and address book pursuant to a warrant to search his

home for drugs and drug paraphernalia where the scanner and address book were sufficiently

related to the crime described in the warrant, in particular, the scanner was found to be

discovered during the execution of a valid search warrant and reasonably constitutes evidence of

a crime. According to agent Bongiovanni’s testimony, a drug-trained dog used in the search of

Velez’ home alerted to a closet where the safe was found.

       Despite the detailed listing of objects subject to seizure under this warrant and its

omission of a safe (or other potential containers for contraband), the search leading to this safe

was not the general search that the Fourth Amendment particularity clause was designed to

prevent. Thus, defendant’s motion to suppress the seized contraband from the safe should be

denied.




                                                 9
      Case 1:07-cr-00142-RJA         Document 119       Filed 09/14/09      Page 10 of 11




                                        CONCLUSION

       Based upon the above, defendant Velez’ motion to suppress his statements (Docket

No. 77) should be granted, the Court grants Velez leave to move to suppress physical evidence

seized (see Docket No. 99) and that motion should be denied.



       Pursuant to 28 U.S.C. § 636(b)(1), it is hereby ordered that this Report &

Recommendation be filed with the Clerk of the Court and that the Clerk shall send a copy of the

Report & Recommendation to all parties.

       ANY OBJECTIONS to this Report & Recommendation must be filed with the Clerk

of this Court within ten (10) days after receipt of a copy of this Report & Recommendation

in accordance with 28 U.S.C. § 636(b)(1), Fed. R. Civ. P. 72(b) and W.D.N.Y. Local Civil

Rule 72.3(a).

       FAILURE TO FILE OBJECTIONS TO THIS REPORT & RECOMMENDATION

WITHIN THE SPECIFIED TIME OR TO REQUEST AN EXTENSION OF SUCH TIME

WAIVES THE RIGHT TO APPEAL ANY SUBSEQUENT DISTRICT COURT’S

ORDER ADOPTING THE RECOMMENDATIONS CONTAINED HEREIN. Thomas v.

Arn, 474 U.S. 140 (1985); F.D.I.C. v. Hillcrest Associates, 66 F.3d 566 (2d Cir. 1995); Wesolak

v. Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

       The District Court on de novo review will ordinarily refuse to consider arguments, case

law and/or evidentiary material which could have been, but was not, presented to the Magistrate

Judge in the first instance. See Patterson-Leitch Co. Inc. v. Massachusetts Municipal Wholesale

Electric Co., 840 F.2d 985 (1st Cir. 1988).


                                                10
      Case 1:07-cr-00142-RJA          Document 119        Filed 09/14/09      Page 11 of 11




       Finally, the parties are reminded that, pursuant to W.D.N.Y. Local Civil Rule 72.3(a)(3),

“written objections shall specifically identify the portions of the proposed findings and

recommendations to which objection is made and the basis for such objection and shall be

supported by legal authority.” Failure to comply with the provisions of Rule 72.3(a)(3) may

result in the District Court’s refusal to consider the objection.

       SO ORDERED.

                                                                /s/ Hugh B. Scott
                                                                    Hon. Hugh B. Scott
                                                             United States Magistrate Judge

Dated: Buffalo, New York
       September 14, 2009



Attachment–Schedule of Items to Be Seized




                                                11
